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NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

ESTER JOSEPH,
                                                             Civ. No. 19-5413
                     Plaintiff,
                                                             OPINION
v.

RICKART COLLECTION SYSTEMS,
INC.,

                     Defendant.

THOMPSON, U.S.D.J.
                                         INTRODUCTION

        This matter comes before the Court upon the Motion to Dismiss filed by Defendant

Rickart Collection Systems, Inc. (ECF No. 7.) Plaintiff Ester Joseph opposes. (ECF No. 9.) The

Court has decided the Motion on the written submissions of the parties, pursuant to Local Civil

Rule 78.1(b). For the reasons stated herein, the Motion is denied.

                                         BACKGROUND

        Defendant is a debt collector who attempted to collect a debt allegedly incurred by

Plaintiff. (Compl. ¶¶ 13–14, ECF No. 1.) In March 2018, Defendant sent a letter to Plaintiff

reading, in part:

        Unless you notify this office within 30 days after receiving this notice that you
        dispute the validity of this debt, or any portion thereof, this office will assume this
        debt is valid. If you notify this office in writing within 30 days after receiving this
        notice that you dispute the validity of this debt, or any portion thereof, this office
        will obtain verification of the debt or obtain a copy of a judgment and mail you a
        copy of such judgment or verification. If you request of this office in writing
        within 30 days after receiving this notice this office will provide you with the
        name and address of the original creditor, if different from the current creditor.
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(Id. ¶ 15; Letter, ECF No. 1-2.) Plaintiff alleges that this communication failed to inform him

that he must dispute the debt in writing in order for the debt not to be assumed valid. (Compl. ¶¶

21, 25.) The Complaint alleges violation of the Fair Debt Collection Practices Act (the

“FDCPA”), 15 U.S.C. §§ 1692e, 1692g. (Compl. ¶¶ 29–38.) 1

       Defendant filed the present Motion to Dismiss on April 26, 2019. (ECF No. 7.) Plaintiff

opposed on May 6, 2019 (ECF No. 9), and Defendant replied on May 26, 2019 (ECF No. 10).

The Motion is presently before the Court.

                                      LEGAL STANDARD

    A motion to dismiss under Rule 12(b)(6) of the Federal Rules of Civil Procedure tests the

sufficiency of a complaint. Kost v. Kozakiewicz, 1 F.3d 176, 183 (3d Cir. 1993). The defendant

bears the burden of showing that no claim has been presented. Hedges v. United States, 404 F.3d

744, 750 (3d Cir. 2005). When considering a Rule 12(b)(6) motion, a district court should

conduct a three-part analysis. Malleus v. George, 641 F.3d 560, 563 (3d Cir. 2011). “First, the

court must ‘take note of the elements a plaintiff must plead to state a claim.’” Id. (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 675 (2009)). Second, the court must “review[] the complaint to

strike conclusory allegations.” Id.; see also Iqbal, 556 U.S. at 679. Finally, the court must

assume the veracity of all well-pleaded factual allegations and “determine whether the facts are

sufficient to show that plaintiff has a ‘plausible claim for relief.’” Fowler v. UPMC Shadyside,

578 F.3d 203, 211 (quoting Iqbal, 556 U.S. at 679); see also Malleus, 641 F.3d at 563. If the

complaint does not demonstrate more than a “mere possibility of misconduct,” it must be


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 The Complaint cites to § 1692e et seq. and § 1692g et seq. and alleges violations of “various
provisions of the FDCPA, including but not limited to” these sections. (Compl. ¶¶ 30, 35.) The
Court interprets the Complaint as alleging only violations of the two enumerated sections.

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dismissed. See Gelman v. State Farm Mut. Auto. Ins. Co., 583 F.3d 187, 190 (3d Cir. 2009)

(quoting Iqbal, 556 U.S. at 679).

                                          DISCUSSION

I.     The Complaint States a Claim for Violation of 15 U.S.C. §§ 1692e, 1692g

       15 U.S.C. § 1692g(a) requires that a debt collector send to the debtor a written notice

commonly called a “validation notice.” See, e.g., Wilson v. Quadramed Corp., 225 F.3d 350, 351

(3d Cir. 2000) (using the term). The validation notice must include:

       (1) the amount of the debt;
       (2) the name of the creditor to whom the debt is owed;
       (3) a statement that unless the consumer, within thirty days after receipt of the
       notice, disputes the validity of the debt, or any portion thereof, the debt will be
       assumed to be valid by the debt collector;
       (4) a statement that if the consumer notifies the debt collector in writing within
       the thirty-day period that the debt, or any portion thereof, is disputed, the debt
       collector will obtain verification of the debt or a copy of a judgment against the
       consumer and a copy of such verification or judgment will be mailed to the
       consumer by the debt collector; and
       (5) a statement that, upon the consumer’s written request within the thirty-day
       period, the debt collector will provide the consumer with the name and address of
       the original creditor, if different from the current creditor.

§ 1692g(a). The text of Subsection (a)(3) does not explicitly require that the debt collector

inform the debtor that the debt will be assumed valid unless the debtor disputes the debt in

writing. But the Third Circuit has determined that a comprehensive reading of § 1692 shows that

“any dispute, to be effective, must be in writing.” Graziano v. Harrison, 950 F.2d 107, 112 (3d

Cir. 1991).

       Defendant contends that Graziano merely permits a debt collector to require that disputes

be in writing, but that it does not require a debt collector to inform a debtor that she must dispute

the debt in writing. (Mot. at 9.) Graziano concerned a debt collector whose validation notice

stated that disputes must be in writing, so the case’s holding is only that a debt collector may

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require that disputes be in writing. Graziano, 950 F.2d at 109, 111–12. But Graziano’s reasoning

also compels the conclusion that a debtor must dispute a debt in writing. The Graziano court

wrote, “given the entire structure of section 1692g, subsection (a)(3) must be read to require that

a dispute, to be effective, must be in writing.” Id. at 112 (emphasis added). It went on to explain:

       Subsection (a)(3) states that unless the debtor disputes the debt within thirty days
       of receipt of notice, the debt collector will assume the debt to be valid. Subsection
       (a)(4) states that if the debtor disputes the debt in writing within thirty days, the
       debt collector must obtain verification of the debt and must send the debtor a copy
       of the verification. Subsection (a)(5) states that, if the debtor makes a written
       request, the debt collector must provide the name and address of the original
       creditor. Subsection (b) states that if the debtor disputes the debt in writing within
       thirty days, the debt collector must cease collection efforts until the debt collector
       has verified the debt. Adopting [plaintiff-debtor]’s reading of the statute [that a
       debt collector is forbidden to require disputes to be in writing] would thus create a
       situation in which, upon the debtor’s non-written dispute, the debt collector would
       be without any statutory ground for assuming that the debt was valid, but
       nevertheless would not be required to verify the debt or to advise the debtor of the
       identity of the original creditor and would be permitted to continue debt collection
       efforts. We see no reason to attribute to Congress an intent to create so incoherent
       a system. We also note that there are strong reasons to prefer that a dispute of a
       debt collection be in writing: a writing creates a lasting record of the fact that the
       debt has been disputed, and thus avoids a source of potential conflicts. We
       therefore conclude that subsection (a)(3), like subsections (a)(4) and (a)(5),
       contemplates that any dispute, to be effective, must be in writing. The district
       court was not in error in determining that the requirement of a writing did not
       render the statutory notice invalid.

Id. (internal citations omitted). As shown by the above passage, the Graziano court chose to shift

the emphasis away from the choices a debt collector can make in sending out a validation notice

and to focus instead on how to interpret the statute most coherently. In doing so, it found that the

only way to read the statute coherently was by including a writing requirement. Note also the last

two sentences of the above-quoted passage. The last sentence (“[T]he requirement of a writing

did not render the statutory notice invalid.”) resolves the particular issue in the case, but the next-

to-last sentence (“[The statute] contemplates that any dispute, to be effective, must be in


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writing.”) states a principle that expands beyond the particularities of that case. Inclusion of the

broader principle—that disputes must be in writing—was not necessary to resolve the issue

presented; rather, the Graziano court chose to state the principle, which it would not have done

had it intended only a narrow understanding of its decision. Therefore, Graziano went farther

than simply permitting a debt collector to require disputes to be in writing; its discussion shows

that it interprets the statute to require disputes to be in writing.

        The question raised by the present Motion is whether a debt collector must inform a

debtor that the dispute must be in writing. This same question has been raised, and answered

inconsistently, in both the District of New Jersey 2 and in other district courts in the Third

Circuit. 3 Recently, the court in Vedernikov v. Mercantile Adjustment Bureau LLC held that a


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  Some cases have found that the notice must specify that disputes must be in writing.
Vedernikov v. Mercantile Adjustment Bureau, 2019 WL 1857119, at *2–4 (D.N.J. Apr. 25,
2019); Cadillo v. Stoneleigh Recovery Assocs., 2019 WL 1091391, at *5 (D.N.J. Mar. 8, 2019).
  Other cases have found that the notice need not so specify. Poplin v. Chase Receivables, Inc.,
Letter Order at 3–4, Civ. No. 18-404, ECF No. 65 (D.N.J. May 16, 2019); Bencosme v. Caine &
Weiner, Letter Order at 3–4, Civ. No. 18-7990, ECF No. 20 (D.N.J. March 6, 2019); Portela v.
Diversified Consultants, Inc., 2019 WL 449198, at *6 (D.N.J. Feb. 5, 2019); Rodriguez v.
Northland Grp., LLC, 2018 WL 6567705, at *5–6 (D.N.J. Dec. 13, 2018); Ferrulli v. BCA Fin.
Servs., Inc., 2018 WL 4693968, at *3–4 (D.N.J. Sept. 28, 2018); Borozan v. Fin. Recovery
Servs., Inc., 2018 WL 3085217, at *6 (D.N.J. June 22, 2018); Riccio v. Sentry Credit, Inc., 2018
WL 638748, at *5 (D.N.J. Jan. 31, 2018); Rosa v. Encore Receivable Mgmt., Inc., 2016 WL
4472951, at *3 (D.N.J. Aug. 23, 2016); Cruz v. Fin. Recoveries, 2016 WL 3545322, at *3–4
(D.N.J. June 28, 2016); Max v. Gordon & Weinberg P.C., 2016 WL 475290, at *3–4 (D.N.J.
Feb. 8, 2016); Hernandez v. Mercantile Adjustment Bureau, LLC, 2013 WL 6178594, at *2–3
(D.N.J. Nov. 22, 2013).
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  Again, some cases have found that the notice must specify that disputes must be in writing.
Pozzuolo v. Portfolio Recovery Assocs., 2019 WL 1528431, at *5 (E.D. Pa. Apr. 9, 2019) (dicta).
Henry v. Radius Glob. Solutions, LLC, 357 F. Supp. 3d 446, 458 (E.D. Pa. 2019); Durnell v.
Stoneleigh Recovery Assocs., LLC, 2019 WL 121197, at *4 (E.D. Pa. Jan. 7, 2019); Guzman v.
HOVG, LLC, 340 F. Supp. 3d 526, 531–32 (E.D. Pa. 2018); Homer v. Law Offices of Frederic I.
Weinberg & Assocs., P.C., 292 F. Supp. 3d 629, 632-33 (E.D. Pa. 2017). Other cases have found
the opposite. Velez v. Cont’l Serv. Grp., 2018 WL 1621625, at *6 (M.D. Pa. Apr. 4, 2018);
Hillman v. NCO Fin. Sys., Inc., 2013 WL 5356858, at *3 (E.D. Pa. Sept. 25, 2013).

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validation notice must specify that disputes must be in writing. 2019 WL 1857119, at *2–4

(D.N.J. Apr. 25, 2019). Because the Court finds the reasoning of that case and others persuasive,

it will echo their reasoning.

       As Vedernikov explained:

       The validation notice in this case violates § 1692g(a) because it does not
       effectively convey a consumer’s rights. The validation notice stated that Plaintiff
       had thirty days to “dispute the validity of this debt or any portion thereof.” A
       reasonable debtor—let alone the least sophisticated debtor—could understand this
       statement to mean that he could dispute the debt over the telephone, when in
       reality his only option is to dispute the debt in writing. See Graziano, 950 F.2d at
       112. The validation notice therefore “can be reasonably read to have two or more
       different meanings, one of which is inaccurate.” Wilson, 225 F.3d at 354 (internal
       citation omitted).

       It is true that the validation notice closely tracks the statutory language of §
       1692g(a). Unfortunately for Defendant, however, the statutory language is subject
       to conflicting interpretations. Compare Graziano, 950 F.2d at 112 (holding that
       the statute requires disputes to be in writing), with Hooks v. Forman, Holt,
       Eliades & Ravin, LLC, 717 F.3d 282, 285–86 (2d Cir. 2013) (noting a circuit split
       on the issue and finding that the statute does not require disputes to be in writing).
       A validation notice that copies the statutory language, therefore, will likewise be
       subject to conflicting interpretations and will fail to apprise the least sophisticated
       debtor of her rights. Homer, 292 F. Supp. 3d at 633 (“If courts reading the
       statutory language interpret it differently, how could the least sophisticated debtor
       not[?]”).

2019 WL 1857119, at *3–4 (internal citation omitted). For the same reasons as those stated in

Vedernikov, Plaintiff states a claim for violation of 15 U.S.C. § 1692g(a). 4




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  Because the analysis for a violation of § 1692e tracks the § 1692g(a) analysis, see Caprio v.
Healthcare Revenue Recovery Grp., LLC, 709 F.3d 142, 155 (3d Cir. 2013), the Court also finds
that Plaintiff states a claim for violation of § 1692e.

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                                       CONCLUSION

        For the foregoing reasons, Defendant’s Motion to Dismiss is denied. An appropriate

Order will follow.


Date:    5/29/19                                           /s/ Anne E. Thompson
                                                           ANNE E. THOMPSON, U.S.D.J.




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